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                  EXHIBIT 5
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       CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

       California Public Employees' Retirement System (“Plaintiff”) declares:
       1.        Plaintiff has reviewed the complaint filed in this matter.
       2.        Plaintiff did not acquire the security that is the subject of this action at
the direction of plaintiff’s counsel or in order to participate in this private action or
any other litigation under the federal securities laws.
       3.        Plaintiff is willing to serve as a representative party on behalf of the
class, including providing testimony at deposition and trial, if necessary.
       4.        Plaintiff has made the following transaction(s) during the Class Period
in the securities that are the subject of this action: See attached Schedule A.
       5.        Plaintiff has not sought to serve or served as a representative party in a
class action filed under the federal securities laws within the three-year period prior
to the date of this Certification except as listed below:
   Ohio Public Employees Retirement System v. Meta Platforms, Inc. f/k/a Facebook, Inc., No. 4:21-cv-08812 (N.D. Cal.)
                          Cupat v. Palantir Technologies Inc., No. 1:22-cv-02384 (D. Colo.)

       6.        Plaintiff will not accept any payment for serving as a representative
party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,
except such reasonable costs and expenses (including lost wages) directly relating
to the representation of the class as ordered or approved by the court.
       I declare under penalty of perjury that the foregoing is true and correct.
Executed this ____
               4th day of October, 2024.

                                                       California Public Employees' Retirement
                                                       System

                                                       By:
                                                               Matthew G. Jacobs, General Counsel




                                                                                                         UNITEDHEALTH
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                           SCHEDULE A

                     SECURITIES TRANSACTIONS

          Stock

           Date                 Number of
         Acquired             Shares Acquired         Price

        10/28/2021                   24              $455.44
        12/17/2021                   32              $487.12
        12/17/2021                  218              $487.12
        12/17/2021                  268              $487.12
        12/17/2021                  341              $487.12
        01/07/2022                16,633             $459.89
        01/10/2022                 8,538             $461.01
        01/13/2022                29,150             $469.85
        01/25/2022                46,084             $454.47
        02/09/2022                 9,257             $498.46
        02/10/2022                24,474             $489.38
        02/25/2022                25,533             $472.39
        02/28/2022                29,769             $471.69
        03/23/2022                10,819             $504.08
        03/31/2022                35,348             $515.31
        04/04/2022                   55              $510.02
        04/20/2022                10,192             $544.92
        05/04/2022                   43              $495.99
        05/05/2022                50,047             $493.80
        05/12/2022                   20              $478.80
        05/12/2022                   53              $478.80
        05/12/2022                   88              $478.80
        05/12/2022                 1,334             $478.80
        07/14/2022                54,925             $502.43
        07/19/2022                36,001             $533.45
        07/28/2022                49,782             $541.49
        08/04/2022                30,758             $533.75
        08/10/2022                   36              $537.72
        08/23/2022                34,978             $535.80
        09/08/2022                52,384             $527.51
        09/16/2022                   59              $521.02
        09/16/2022                  140              $521.02
        09/16/2022                 1,080             $521.02
        09/16/2022                 1,113             $521.02
        09/16/2022                13,665             $521.02
        09/16/2022                20,394             $521.02
        09/30/2022                32,170             $505.04
        11/16/2022                   19              $511.52
        11/16/2022                   20              $511.52
        12/09/2022                184,000            $539.20
        12/16/2022                 6,654             $523.70
        12/16/2022                12,787             $523.70
        12/16/2022                15,537             $523.70
        12/16/2022                69,698             $523.70
        12/16/2022                70,247             $523.70
        01/04/2023                  117              $504.50
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           Date                Number of
         Acquired            Shares Acquired         Price

        01/04/2023                 191              $504.50
        01/04/2023                 536              $504.50
        05/10/2023                 137              $490.07
        06/20/2023                1,123             $469.27
        07/10/2023                 113              $463.05
        07/26/2023                9,840             $508.00
        08/02/2023               12,532             $504.80
        08/08/2023                3,549             $505.86
        08/08/2023                3,862             $505.86
        08/10/2023               10,500             $503.48
        08/14/2023               35,000             $510.93
        08/18/2023               27,490             $498.44
        08/21/2023                 876              $497.71
        09/05/2023                  80              $480.81
        09/15/2023                1,037             $486.70
        09/15/2023                1,380             $486.70
        09/15/2023               81,876             $486.70
        09/27/2023               10,671             $503.73
        09/29/2023                 129              $504.19
        10/05/2023                5,313             $516.23
        10/16/2023                  57              $538.03
        10/17/2023                 180              $536.65
        10/17/2023                1,787             $536.65
        10/17/2023                3,809             $536.65
        10/17/2023                9,986             $536.65
        11/07/2023               270,000            $537.83
        11/29/2023               185,000            $534.98
        12/01/2023               181,000            $547.16
        12/11/2023               182,000            $543.68
        12/15/2023                 820              $531.12
        12/15/2023                1,691             $531.12
        12/15/2023                5,551             $531.12
        12/15/2023               28,924             $531.12
        12/27/2023                 130              $522.79
        12/28/2023                  15              $524.90

           Date                 Number of
         Disposed            Shares Disposed         Price

        10/26/2021               14,410             $454.64
        11/23/2021               12,897             $447.13
        12/27/2021               13,564             $499.50
        12/31/2021               39,813             $502.14
        01/26/2022               16,210             $458.43
        02/23/2022               26,440             $459.62
        03/18/2022                 53               $506.12
        03/18/2022                1,372             $506.12
        03/18/2022               20,851             $506.12
        03/31/2022               57,569             $509.97
        04/25/2022               18,876             $524.27
        04/27/2022                3,042             $512.20
        05/25/2022               41,209             $498.09
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                            Date                         Number of
                          Disposed                    Shares Disposed         Price

                          06/17/2022                         21              $452.06
                          06/17/2022                         76              $452.06
                          06/17/2022                        996              $452.06
                          06/17/2022                       6,601             $452.06
                          06/17/2022                      41,734             $452.06
                          06/23/2022                       9,330             $498.32
                          06/24/2022                      62,406             $493.53
                          07/01/2022                       2,052             $507.63
                          08/12/2022                      25,038             $541.71
                          08/15/2022                      28,201             $544.73
                          09/21/2022                       2,002             $512.08
                          10/27/2022                       5,529             $541.80
                          12/14/2022                      28,493             $538.86
                          12/21/2022                        652              $527.54
                          01/11/2023                      27,192             $493.40
                          01/30/2023                      10,712             $485.79
                          02/09/2023                      34,151             $485.73
                          02/16/2023                      23,820             $487.35
                          02/23/2023                      58,471             $491.69
                          03/08/2023                      19,539             $470.60
                          03/17/2023                         2               $469.50
                          03/17/2023                         5               $469.50
                          03/17/2023                         7               $469.50
                          03/17/2023                         10              $469.50
                          03/27/2023                      45,846             $481.90
                          04/25/2023                      32,699             $491.92
                          05/25/2023                       1,864             $477.70
                          05/25/2023                      22,422             $477.70
                          06/16/2023                        868              $458.49
                          06/16/2023                        898              $458.49
                          06/16/2023                       1,604             $458.49
                          06/30/2023                      29,783             $480.64
                          09/29/2023                      18,165             $504.19
                          10/20/2023                        742              $527.03
                          10/26/2023                      27,987             $528.36
                          10/31/2023                        147              $535.56
                          11/08/2023                        192              $536.73
                          11/27/2023                      32,382             $543.59
                          11/30/2023                         31              $552.97
                          12/29/2023                         83              $526.47
                          12/29/2023                        164              $526.47
                          02/12/2024                      119,000            $517.64
                          02/26/2024                      12,936             $525.32

Prices listed are rounded up to two decimal places.

*Opening position of 2,130,594 shares.
